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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

                                  ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                           )
                                                    )
               Plaintiff,                           )
                                                    )
v.                                                  )
                                                    )
                                                    )       Criminal No. 3:22-CR-88-DJH
PHIL PASCOE, et al.                                 )
                                                    )
               Defendants.                          )


                   DEFENDANT PHIL PASCOE, SCOTT TUBBS,
            AND MONICA PASCOE’S MOTION TO CONTINUE TRIAL DATE



       Pursuant to Local Criminal Rule 47.1(b), Defendants Phil Pascoe, Scott Tubbs, and Monica

Pascoe, by counsel, hereby jointly move to continue the trial in this matter, now set for April 1,

2024 (DN 98). The individual defendants respectfully request a continuance of at least 30 days to

allow the Court to rule on the numerous pending motions, review evidence recently disclosed, and

continue preparing their defense. The grounds for this motion are as follows:

       1.      The United States indicted this case on August 17, 2022 (DN 1). The case was

unsealed on November 9, 2022. Subsequently, the government has superseded the indictment

twice (DN 49 & 73). The Second Superseding Indictment was issued on December 5, 2023 (DN

73).

       2.      The Court previously declared this case complex for purposes of the Speedy Trial

Act, U.S.C. §3161(h)(7)(B)(ii). (See December 15, 2022 Memorandum of Hearing and Order, DN

28, PageID #: 104, ¶ 2.)
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       3.      Although all defendants vigorously opposed the government’s prior motion to

continue, circumstances have changed, and there are four substantial reasons why the Court should

postpone this trial. First, the defendants filed a motion to compel the government to produce

exculpatory Brady evidence from redacted documents yesterday. (See DN 162.) As discussed in

the briefing, the identities of the people involved in the commodity-jurisdiction determinations are

critical to the defense. Without these identities, the defendants cannot subpoena these individuals,

who may provide testimony favorable to the defendants. The government has repeatedly refused

to provide this information despite various requests from the defendants and a meet and confer on

the issue. This is obviously an important evidentiary issue that the Court should consider

immediately.

       4.      Second, there are two dozen outstanding motions before the Court, and the Court’s

rulings may change the landscape of this trial.      More specifically, there are currently twenty

defensive motions (DN 71, 85, 86, 87, 88, 89, 90, 91, 93, 133, 135, 136, 137, 139, 141, 142, 143,

144, 147, & 162) and four government motions (DN 134, 138, 140, & 146) pending before the

Court. They include a motion to dismiss that was submitted on January 10, eight dispositive joint

defense motions that were fully briefed on February 9, and ten motions in limine submitted on

March 11. In addition, the defense recently filed a motion to dismiss because of government

disclosure of alleged ITAR information (DN 147) and a motion to compel exculpatory Brady

evidence (DN 162). These motions ask the Court to consider complex statutory and constitutional

arguments related to ITAR and DFARS, exclude potential experts, and determine whether certain

evidence is admissible prior to trial. The outstanding motions span over 1,461 of the 2,324 pages

in the entire record. The Court’s ruling on these motions will ultimately determine the issues

presented at trial and undoubtedly have an impact on how the defendants prepare for trial.



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       5.      Third, the government has made late production of documents, in a manner which

requires additional time for the defendants to consider. At this juncture, the government has made

thirteen productions. Within the past couple weeks, the government produced 505 files, which

includes approximately 5,512 pages or 3.5 gigabytes of data. During its preliminary review of this

production, defense counsel noted that certain files are corrupt and other items are missing (i.e.,

the government provided a slip sheet documenting a recorded interview but did not produce the

actual recording or anything related to its contents). Defense counsel has reached out to the

government about these discovery issues. Due to the recent productions of discovery, undersigned

counsel needs additional time to meaningfully review all of the discovery. In addition, the defense

is also expecting a voluminous Jencks production, which has not yet been produced to the

defendants.

       6.      Fourth, counsel for Monica Pascoe is currently set for a trial set to begin on

Monday, March 18, 2024, United States v. Lohden, et al., 3:22-cr-111-DJH. He cannot properly

prepare for this case while devoting his time and energy to trying a different case.

       7.      The requested postponement of trial in this case would merit exclusion under the

complex-litigation provisions in the Speedy Trial Act. Under the Speedy Trial Act, a continuance

of trial may be granted “on the basis of [the Court’s] findings that the ends of justice served by

taking such action outweigh the best interest of the public and the defendant in a speedy trial.” 18

U.S.C. § 3161(h)(7)(A). One factor for the Court’s consideration in determining whether to grant

a continuance is whether the case “is so unusual or so complex, due to. . . the nature of the

prosecution. . . that it is unreasonable to expect adequate preparation for pretrial proceedings or

for the trial itself within the time limit established by this section.” 18 U.S.C. § 3161(h)(7)(B)(ii).

Likewise, “[d]efense counsel’s need for additional time to prepare an unusually complex case is



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an appropriate reason for granting a continuance.” United States v. Richardson, 681 F.3d 736, 740

(6th Cir. 2012) citing United States v. Stone, 461 Fed Appx. 461, 464-65 (6th Cir. 2012); see also

18 U.S.C. § 3161(h)(7)(B)(iv).

       8.      Section 3161(h)(7)(B) sets forth a non-exhaustive list of factors for a court to

consider in granting a continuance. See 18 U.S.C. § 3161(h)(7)(B)(i)-(iv). Critical here, the

Speedy Trial Act provides a basis for a continuance if “the failure to grant such a continuance in a

case . . . would deny counsel for the defendant . . . the reasonably time necessary for effective

preparation, taking into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).

The present case satisfies each of these requirements. Here, the government alleges that the

Defendants engaged in a conspiracy to export from the United States to China defense articles,

specifically technical data protected by the United States Munitions List. The government also

charged the Defendants with three counts of wire fraud in the Western District of Kentucky and

elsewhere. (DN 73). In addition, Defendants Phil Pascoe, Scott Tubbs, and Quadrant Magnetics

LLC have been charged with four counts of exporting technical data without a license in violation

of 22 U.S.C. §§ 2778(b)(2) and 2778(c), and 22 C.F.R. §§ 121.1, 123.1, and 127.1, and one count

of smuggling goods from the United States in violation of 18 U.S.C. § 554. These charges are

serious in nature and defense counsel needs ample time to prepare a defense for a case that the

government has been working on since at least 2018.

       9.      Defendants understands that they each have a right to a speedy trial, and they agree

that the continuance requested here is in the interest of justice pursuant to 18 U.S.C.

§3161(h)(7)(A). Defendants agree that the time between the filing of this motion and the new trial

date should be excluded from the calculations under the Speedy Trial Act.




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        10.     The Court should therefore vacate the current trial date and continue the trial to a

later date. The Court should not change any other dates for pretrial compliance which have already

passed, including the deadline for expert disclosure.

        Wherefore, Defendants Phil Pascoe, Scott Tubbs, and Monica Pascoe respectfully request

that the Court postpone the current trial date for at least thirty days.

                                                        Respectfully submitted,

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                                      Certificate of Service

         I hereby certify that a copy of the foregoing has been served upon all parties by electronic
filing this 14th day of March, 2024.

                                                      /s/ Kent Wicker
                                                      Kent Wicker




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